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            Exhibit D
    Declaration of Dr. Andrew Clark
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN

  CATHOLIC CHARITIES OF
  JACKSON, LENAWEE AND
  HILLSDALE COUNTIES, ET AL.,                      Civil No. 1:24-cv-718

     Plaintiffs,                                   DECLARATION OF
                                                  DR. ANDREW CLARK
     v.

  GRETCHEN WHITMER, ET AL.,

     Defendants.
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 I, Dr. Andrew Clark, pursuant to 28 U.S.C. § 1746, state and declare:

    1. I am over eighteen years of age and fully competent to make this declaration.

 I. Credentials and Experience

    2. I am a specialist in Child, Adult, and Forensic Psychiatry and am currently in

 full time private practice in Cambridge, Massachusetts. I started my private practice

 in 1996, about twenty-eight years ago.

    3. I hold a medical degree from the University of Michigan Medical School. After

 earning my M.D. in 1986, I served as a Resident in Family Practice at San Francisco

 General Hospital for one year. Thereafter, I spent three years as a Resident in Pedi-

 atrics at Boston City Hospital, and then another three years as a Resident in Psychi-

 atry in Massachusetts General Hospital in Boston. The next two years I served as a

 Resident in Child and Adolescent Psychiatry at Massachusetts Hospital, and I then

 earned a post-graduate certificate in Infant Parent Mental Health at the University

 of Massachusetts.

    4. I have been board certified in Psychiatry for twenty-nine years; in Child and

 Adolescent Psychiatry for twenty-eight years; and was certified for six years in pedi-

 atrics. Since 2016, I have held a subspecialty certification in Forensic Psychiatry.

    5. I am also a member of the American Academy of Child and Adolescent Psychi-

 atry; the American Academy of Psychiatry and the Law; and the Massachusetts Med-

 ical Society.

    6. I also serve as an Assistant Professor of Psychiatry at Boston University School

 of Medicine. From 1996-2016, I was a part-time instructor in psychiatry at Harvard

 Medical School and a clinical associate in psychiatry at Massachusetts General Hos-

 pital.
    7. Throughout my career, I have served in various capacities at medical practices

 in Boston. This includes sixteen years as the Director of Psychiatric Services at the

 South Bay House of Correction in Boston; two years as a trainer for incoming social


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 workers at the Department of Children and Families and at Family Mental Health;

 five years at the Director of Medical Student Education in the Department of Psychi-

 atry at Boston University School of Medicine; three years as the attending psychia-

 trist at the Boston Medical Center; and two years as the Chief of Outpatient Psychi-

 atry at the Boston Medical Center. I also served seven years as the Medical Director

 of the Children and the Law Program at Massachusetts General Hospital, four years

 as the Medical Director of the Children’s Charter Trauma Clinic in Waltham, Massa-

 chusetts, and six years as a case reviewer for the Massachusetts Board of Registration

 in Medicine in Wakefield, Massachusetts. I also served as the Designated Forensic

 Psychiatrist for the Massachusetts Department of Mental Health from 1995-2002.

    8. I have served in various mentoring and supervisory capacities since 1996, in-

 cluding supervising child psychiatry fellows at Massachusetts General Hospital and

 Harvard Medical School. I also supervised a psychiatry resident at Boston Medical

 Center for seven years.

    9. My scholarship includes several peer-reviewed articles, reviews, and textbook

 chapters on issues related to child psychiatry.

    10. In private practice, I have counseled and continue to counsel adolescents that

 are gender nonconforming or struggling with issues related to sexuality and gender

 identity.

    11. My CV is attached as Exhibit 1.

    12. I have been asked by Plaintiffs to opine regarding Catholic Charities of Jack-

 son, Lenawee and Hillsdale Counties v. Whitmer, No. 1:24-cv-00718, a legal action

 challenging Michigan HB 4616 and HB 4617, which prohibit mental health profes-

 sionals from engaging what the state defines as “conversion therapy” with a minor.
    13.      The opinions I express in this declaration are based on my education, train-

 ing, experience, and ongoing familiarity with medical literature. These opinions are

 my own and do not represent the opinion of any professional or other group. They are


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 also open to change based on advances in the medical literature and the receipt of

 additional relevant information.

 II. Caring for Transgender-Identified Youths

     A. Introduction to Gender Identity

     14. The medical literature on gender identity, transgender identification, and

 gender dysphoria typically differentiates between the terms “sex” and “gender.” Sex

 in this context refers to the biological classification of an individual as male or female

 according to reproductive organs and the chromosomal complement (XX for female,

 XY for male).

     15. Gender in this context refers to an individual’s subjective and personal expe-

 rience of identification with a particular sex-based role. It is the product of an indi-

 vidual’s discernment, and there are no established tests or markers to indicate some-

 one’s gender.

     16. Gender identity can be that of a man or a woman (a boy or a girl in the case

 of youths). A non-binary gender identity refers to a gender identity which does not

 conform to that dichotomy. Gender identity is variously conceptualized as either fixed

 or fluid, and an individual’s developing understanding of their gender identity is often

 described as a process of self-realization. For example, one prominent psychiatrist

 and researcher described gender identity as a “transcendent sense of gender” that

 goes beyond language, is hard to describe in words, is highly personal, and presents

 with “dramatic variability.” 1

     17. Transgender identification is described as representing a discordance be-

 tween a person’s internal sense of their gender and their physically sexed body.




 1  Jack Turban, I’m a Psychiatrist. Here’s How I Talk to Transgender Youth and
 Their Families About Gender Identity., N.Y. Times (July 8, 2024),
 https://perma.cc/VY82-JWVW.


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 Gender dysphoria refers to the subjective and sometimes intense distress that may

 accompany this discordance.

     18. Transgender-identified youths are a highly vulnerable population.

     19. Transgender-identified adolescents exhibit very high rates of mental health

 conditions such as depression, anxiety, eating disorders, post-traumatic stress disor-

 der, attention deficit disorders, substance use disorders, and Autism Spectrum Dis-

 orders. 2

     20. Transgender-identified adolescents also have high rates of suicidal ideation

 and self-harming behaviors, although rates of suicide in transgender adolescents are

 not elevated when controlling for co-morbid psychiatric conditions. 3
     21. In addition, transgender-identified teenagers experience high rates of family

 rejection, homelessness, juvenile justice involvement, and involvement in high-risk

 sexual behavior.

     22. Many transgender-identified children and teens experience a significant de-

 gree of social stigma.


 2  Natalie M. Wittlin et al., Mental Health of Transgender and Gender Diverse Youth,
 19 Ann. Rev. Clinical Psych. 207, 210-212 (2023), https://perma.cc/868B-XF59; Tracy
 A. Becerra-Culqui et al., Mental Health of Transgender and Gender Nonconforming
 Youth Compared With Their Peers, 141 Pediatrics (2018), https://perma.cc/U2XX-
 XG7S; Christian J. Bachmann et al., Störungen der Geschlechtsidentität bei jungen
 Menschen in Deutschland: Häufigkeit und Trends 2013–2022 [Gender identity disor-
 ders among young people in Germany: prevalence and trends, 2013–2022. An analysis
 of nationwide routine insurance data], 121 Deutsches Ärzteblatt [German Med. J.]
 370, 370 (May 31, 2024) (Ger.), https://perma.cc/X5X8-MG4E, translated via Google
 Translate, https://perma.cc/6LPG-XWBV, official English translation forthcoming,
 https://www.aerzteblatt.de/int/archive/article/239563.
 3  Sami-Matti Ruuska et al., All-cause and suicide mortalities among adolescents
 and young adults who contacted specialised gender identity services in Finland in
 1996–2019: a register study, 27 BMJ Mental Health, 3-4 (Feb. 17, 2024),
 https://perma.cc/A5WN-47F4; Michael Biggs, Suicide by Clinic‑Referred Transgender
 Adolescents in the United Kingdom, 51 Archives of Sexual Behav. 685, 687-88 (2022),
 https://perma.cc/77EF-YY3P.


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    23. For transgender-identified youths, as for all youths in the United States, ac-

 cessing affordable mental health services is often very difficult.

    24. Having a non-conforming gender identity is not considered to be a mental

 illness.

    25. Gender dysphoria, however, involves clinically significant distress or impair-

 ment in important areas of functioning. Effective therapy and support are essential

 for transgender adolescents.

    26. There is a significant, ongoing debate in the medical community about what

 constitutes the most effective therapy and support for transgender adolescents. The

 debate falls broadly into two different approaches described more fully below: (1) the

 cautious approach; and (2) the gender-affirming approach.

    B. Cautious Approach

    27. The cautious approach begins with exploratory therapy, which has long been

 the prevailing approach for transgender-identified youths. Exploratory therapy is

 characterized by a recognition of the complexity of human motivations and the chal-

 lenges that people encounter in truly knowing themselves, as well as a deep respect

 for the values and goals of the individual patient.

    28. In exploratory therapy, the therapist is open minded as to the outcome of the

 treatment. Rather than seek a particular goal, the therapist strives to help patients

 develop emotional lives of coherence and depth.

    29. Therapists who work with children and teenagers typically utilize a concep-

 tual framework centered around the dynamic process of growth and development.

 They see the adolescent years as a time of active identity development and explora-

 tion. They strive to promote a wide latitude for a teen’s exploration, without insisting
 on a premature commitment to a particular developmental path. Indeed, such thera-

 pists are typically vigilant regarding what might be called “developmental dead




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 ends”—paths that prove at some point to be inhospitable to further psychological

 growth.

     30. Traditionally, the medical profession’s approach to individuals who experi-

 ence discordance between their psyche and their bodies was to attempt to mitigate

 the distress associated with such discordance by psychotherapy as well as treatment

 of any underlying conditions, and to avoid medical and surgical intervention.

     31. In that spirit, the traditional approach to gender diverse youths had been a

 cautious one, often referred to as the “watchful waiting” approach, in which children

 and teenagers were provided therapy and support for an extended period prior to

 initiating irreversible medical interventions.

     32. The watchful waiting approach has been informed by research indicating

 that the substantial majority of children with a prepubertal transgender identifica-

 tion, up to 80-95%, will desist (i.e., no longer experience gender dysphoria) by the time

 they have completed puberty and that many of these youths will grow to become cis-

 gender young adults with a homosexual orientation. 4 For many transgender identi-

 fied children, as for children in general, the process of going through puberty brings

 with it a greater degree of self-awareness and a consolidation of identity.

 4   Peggy T. Cohen-Kettenis et al., The Treatment of Adolescent Transsexuals: Chang-
 ing Insights, 5 J. Sexual Med. 1892, 1893 (2008), https://perma.cc/75GQ-483Z (“esti-
 mates range from 80–95%”); Devita Singh et al., A Follow-Up Study of Boys With
 Gender Identity Disorder, 21 Frontiers in Psychiatry, 8 (Mar. 2021),
 https://perma.cc/5JUL-AU6F (87.8% desistence); Bachmann, supra note 2, at 370-71;
 Rittakerttu Kaltiala-Heino et al., Gender dysphoria in adolescence: current perspec-
 tives, 9 Adolescent Health, Med., & Therapeutics 31, 33 (2018),
 https://perma.cc/84D8-MDNR (“Evidence from the 10 available prospective follow-up
 studies from childhood to adolescence (reviewed in the study by Ristori and
 Steensma) indicates that for ~80% of children who meet the criteria for GDC, the GD
 recedes with puberty.”); Diagnostic and Statistical Manual of Mental Disorders, Fifth
 Edition:    DSM-5      at   455,    American     Psychiatric    Association   (2013),
 https://perma.cc/2SL2-HV3D (“Rates of persistence of gender dysphoria from child-
 hood into adolescence or adulthood vary. In natal males, persistence has ranged from
 2.2% to 30%. In natal females, persistence has ranged from 12% to 50%.”).


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     33. An extended assessment process, attention to co-occurring mental health dif-

 ficulties, and, in some cases, ongoing exploratory therapy were typically considered

 to be essential elements of optimal treatment of transgender-identified youths.

     34. The American Psychological Association 2015 Guidelines for Psychological

 Practice With Transgender and Gender Non-Confirming People delineated what at

 the time was considered the appropriate role for mental health professionals. 5

     35. The APA “encouraged” psychologists to “carefully reflect on their personal

 values and beliefs about gender identity development” and to “keep the best interest

 of the child or adolescent at the forefront of their clinical decisions at all times.” 6 To
 that end, and “[b]ecause gender nonconformity may be transient for younger children

 in particular, the psychologist’s role may be to help support children and their fami-

 lies through the process of exploration and self-identification.” 7

     36. The Guidelines noted that gender nonconformity may be transient for young

 people. It recommended moving slowly and cautiously in situations of “late-onset gen-

 der dysphoria.” 8 It suggested that adolescents and their families may need support

 in tolerating ambiguity and uncertainty. It stressed emphasizing to parents “the im-

 portance of allowing their child the freedom to return to a gender identity that aligns

 with sex assigned at birth or another gender identity at any point… .” 9

     37. It also suggested that mental health problems could complicate assessment

 and intervention of gender related concerns. It suggested that the presence of Autism



 5  American Psychological Association, Guidelines for Psychological Practice With
 Transgender and Gender Nonconforming People, 70 Am. Psych. 832 (Dec. 2015),
 https://perma.cc/W787-NSYW.
 6   Id. at 843.
 7   Ibid.
 8   Ibid.
 9   Ibid.


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 Spectrum Disorder could complicate a young person’s articulation and exploration of

 gender identity. 10

      38. The Guidelines show that a cautious approach was historically preferred.

      39. Careful therapists who work with transgender-identified youths often find

 themselves in a gatekeeper position, as a formal mental health clearance is frequently

 a prerequisite for medical or surgical intervention.

      40. In addition, therapists in that role typically integrate the parents’ perspec-

 tives and concerns into their treatment planning, including situations where the par-

 ents have reservations regarding medical or surgical interventions.

      41. As such, the therapist of a transgender-identified youth may exercise an un-

 usual degree of influence in decision-making regarding whether and when to proceed

 with medical interventions.

      42. Many therapists who work with transgender-identified youths will be curious

 as to the possibility of alleviating their patients’ distress through a therapeutic ap-

 proach rather than a medical one—not because there is anything wrong with being

 transgender, but because the costs and risks of interventions are so high, the deci-

 sions largely irreversible, and the unknowns so great.

      43. Many therapists also see an adolescent’s simple statement of transgender

 identification as the product of a psychologically complex process that bears scrutiny

 and exploration.

      44. As an example, therapists who work with transgender teenagers often report

 elements of internalized homophobia in their patients—the idea that it is more ac-

 ceptable to be a heterosexual trans person than a homosexual cis person.




 10   Id. at 845.


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      45. Additionally, therapists often report cases of females who have experienced

 sexual harassment or abuse and who seek an identification as a male in part for a

 sense of safety and empowerment.

      46. Therapists who work with adolescents find them at times to be impatient,

 impassioned, and importunate, and often see their work as that of trying to add an

 element of reflection and patience to the teenager’s sometimes rash decisions.

      47. Therapists see children and adolescents as engaged in an active, healthy pro-

 cess of identity development and exploration, and recognize that a young person’s

 heartfelt expression may morph dramatically over time.

      48. Therapists who work with teenagers often recognize the exceptional power of

 peer influences and seek to explore the role of social factors in the child’s expression

 of transgender identification. In recent years they observed that the explosion of

 trans-identified youth has coincided with increasing social media use. 11

      49. Therapists who work with teenagers recognize that co-occurring mental

 health conditions can have a substantial impact on the youth’s perception, judgment,

 and self-regard, and seek to untangle the impact of those conditions from the

 transgender identification.

      50. There are many clinical presentations that are complex or concerning enough

 that a reasonably careful therapist would likely harbor serious reservations about

 the wisdom of rapidly initiating irrevocable interventions. These might include:

      •   Cohorts of friends developing a trans identification concurrently;

      •   Families with multiple transgender siblings;

      •   Adolescents with a history of psychosis;

 11 Lisa Littman, Parent reports of adolescents and young adults perceived to show
 signs of a rapid onset of gender dysphoria, PLOS ONE, 20-22 (Aug. 16, 2018),
 https://perma.cc/6TNW-SVKL, updated on different grounds, Correction: Parent re-
 ports of adolescents and young adults perceived to show signs of rapid onset of gender
 dysphoria, PLOS ONE (Mar. 19, 2019), https://perma.cc/63E7-KWRA.


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      •   Teenagers with moderate or severe symptoms of Autism Spectrum Disorder;

      •   Persons with dissociative identity disorder (formerly known as multiple per-

          sonality disorder) or severe post-traumatic stress disorder;

      •   Teenage boys seeking castration because they identify as a eunuch;

      •   Youths with severe developmental delay and cognitive limitations;

      •   Individuals with unrealistic expectations about the transformation of their

          personalities through medical or surgical interventions;

      •   Teenagers who place a high value on having children of their own at some point

          in their future, and who may not appreciate the threat that intervention poses

          to their fertility.

      51. For all these reasons, careful therapists working with transgender-identified

 teens frequently find themselves questioning, complicating, slowing, and, at times,

 blocking the youth’s drive for rapid intervention. Such therapists do not necessarily

 take a child’s stated wishes at face value.

      52. In addition, careful therapists look for and welcome opportunities for the gen-

 uine psychological resolution of their client’s gender dysphoria without resorting to

 medical or surgical intervention, if only to spare them the substantial burden of risks

 and side effects. 12

      53. Careful therapists maintain a stance of respect, acceptance, and support for

 their patients, even when exploring and questioning certain aspects of their presen-

 tations. They affirm the sincerity and meaningfulness of their patient’s experience of

 gender identification, without necessarily encouraging immediate interventions. In

 addition, they actively encourage parental support and acceptance of the child, with




 12 Roberto D’Angelo et al., One Size Does Not Fit All: In Support of Psychotherapy
 for Gender Dysphoria, 50 Archives of Sexual Behavior 7, 12 (2021),
 https://perma.cc/Z5LB-TAF7.


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 an appreciation that parental rejection may have a significant deleterious impact on

 the child’s mental health. 13

      C. Gender Affirming Approach

 Overview of Gender Affirming Care Model

      54. In the last several years, there has been a significant shift in the dominant

 approach for assessing and managing psychological and medical treatment for

 transgender youths. Most professional medical organizations in the United States

 now promote the model of gender affirming care (GAC) in place of the more cautious

 watchful waiting approach.

      55. In the gender affirming care model, it is asserted that children and teenagers

 have a clear and consistent understanding of their subjective gender, and that a

 child’s wish for social, medical, and surgical interventions should be accorded pri-

 macy. The American Academy of Pediatrics (AAP) published a highly influential pol-

 icy statement in 2018, which states: “Accordingly, research substantiates that chil-

 dren who are prepubertal and assert an identity of TGD [transgender and gender

 diverse] know their gender as clearly and as consistently as their developmentally

 equivalent peers who identify as cisgender and benefit from the same level of social

 acceptance.” 14 The process of gender affirmation may include social transition (such

 as adopting different hairstyles, clothing, and name and using a different restroom),

 legal transition (such as changing name and gender on birth certificate), and medical

 transition. Medical transition may include puberty blockers, cross-sex hormones, and

 surgeries. The AAP position statement asserts that this “process of reflection,

 13 Caitlin Ryan et al., Family-Based Psychosocial Care for Transgender and Gender-
 Diverse Children and Youth, 32 Child & Adolescent Psychiatric Clinics N. Am. 775,
 775-76 (2023), https://perma.cc/8V8S-5UL3.
 14 Jason Rafferty et al., Ensuring Comprehensive Care and Support for Transgender
 and Gender-Diverse Children and Adolescents, 142 Pediatrics, 4 (Oct. 2018),
 https://perma.cc/S7U2-Z8K4.


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 acceptance, and, for some, intervention is known as ‘gender affirmation.’ It was for-

 merly referred to as ‘transitioning,’ but many view the process as an affirmation and

 acceptance of who they have always been rather than a transition from [one] gender

 identity to another.” 15

      56. The AAP position statement explicitly rejected the watchful waiting ap-

 proach as “outdated” and endorsed gender affirmation as the only acceptable model

 to treat transgender and gender diverse children. 16 It also recommended the involve-

 ment of a “specialized gender-affirmative therapist” when possible. 17

      57. The Human Rights Campaign and the American Academy of Pediatrics au-

 thored a document for families and children that criticized watchful waiting (which

 they referred to as “delayed transition”) and lauded gender affirming care as the op-

 timal approach. 18 They noted, “Clinicians increasingly embrace a ‘gender-affirming’
 approach to children who are gender-expansive or transgender. This approach means

 focusing on what the child says about their own gender identity and expression, and

 allowing them to determine which forms of gender expression feel comfortable and

 authentic.” 19

      58. The World Professional Association for Transgender Health (WPATH) Stand-

 ards of Care 8th edition (SOC-8) recommend that psychotherapy for gender-diverse




 15   Id. at 5-6.
 16   Id. at 4.
 17   Ibid.
 18 Gabe Murchison et al., Supporting & Caring for Transgender Children at 12-16,
 The Human Rights Campaign & The American Academy of Pediatrics (2016),
 https://perma.cc/N5HW-KYJ6.
 19   Id. at 12.


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 youths be optional and at the discretion of the family and health care professionals,

 as gender diversity is not a mental disorder. 20

      59. The 2020 American Psychiatric Association Position Statement on Treat-

 ment of Transgender (Trans) and Gender Diverse Youth lays out a limited and largely

 supportive role for the therapist in helping to “navigate the gender affirmation pro-

 cess” while waiting to see “[i]f the developmental trajectory affirms the trans iden-

 tity[.]” 21

      60. The affirmative approach asserts that mental health conditions will improve

 as a result of gender affirming care, utilizing the “minority stress model,” whereas
 the cautious approach believes that serious mental health conditions, in many cases,

 should be addressed prior to making decisions around hormonal or surgical interven-

 tions with irrevocable results.

      61. The model of gender affirming care, as described in the American Academy

 of Pediatrics and American Psychiatric Association position statements, as well as

 the WPATH Standards of Care 8, establishes a role for therapists that is substantially

 different and much more limited in certain ways from what had been traditionally

 understood.

      62. While the model highlights the role that therapy can play in supporting, ac-

 cepting, and affirming a transgender or gender-diverse individual, it makes no men-

 tion of the therapist’s role in questioning or clarifying the individual’s stated inten-

 tions or in disentangling the manifold influences on a youth’s position. In this model,

 an individual’s expressed wishes are simply presumed to be authentic, and the



 20 E. Coleman et al., Standards of Care for the Health of Transgender and Gender
 Diverse People, Version 8, 23 Int’l J. Transgender Health S1, S175-76 (2022),
 https://perma.cc/5UE8-N7H3.
 21 Position Statement on Treatment of Transgender (Trans) and Gender Diverse
 Youth at 1, American Psychiatric Association (2020), https://perma.cc/96GS-GBKA.


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 therapist’s role is to encourage and support them on their “gender journey.” Although

 each of these documents expresses manifest support for shared decision making, it

 simultaneously establishes the gender affirming therapist as a facilitator of the tran-

 sition process and makes no mention of the importance of therapeutic neutrality.

    63. It is notable that none of these guidelines or standards provide any guidance

 regarding helping children or adolescents who desist from a transgender identifica-

 tion, or who decide to stop gender transition interventions.

    64. Gender affirming therapy, therefore, represents more than the psychological

 process of acceptance and support. It is an approach in which the therapist actively

 supports and facilitates the youth’s desire for social, medical, and eventual surgical

 intervention.

 Interventions in Gender Affirming Care Model

    65. The first stage of intervention in the gender affirming care model is known

 as social transition.

    66. Transgender identified youths, both children and adolescents, often engage

 in some forms of social transition as the initial steps of intervention. They seek in

 doing so to present in public in a manner more congruent with the typical presenta-

 tion of their expressed gender. This may involve a change of names or pronouns, as

 well as of dress, hairstyle, or mannerisms. It may also involve the use of techniques

 such as breast binding or genital tucking to minimize the outward appearance of

 breasts or male genitalia. Social transition is often promoted as having no inherent

 risks.

    67. Research on the mental health benefits of social transition in children has

 been mixed.
    68. One recent article reported that, of a group of children who were socially

 transitioned at the average age of 6 or 7, 94% of them continued to identify as

 transgender five years later, and almost half of them had already initiated medical


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 interventions. 22 The authors further opined that the remainder of the transgender

 children would likely proceed to medical intervention over time. These findings stand

 in contrast with earlier research indicating that transgender identified young chil-

 dren who are not socially transitioned experience very high rates of desistence over

 time (indicating a reversion to a cis-gender orientation), and raise questions as to

 whether social transition reinforces and solidifies what might have been a transient

 transgender identification. 23

      69. Recent large-scale reviews have found no evidence of positive health benefits

 as a result of social transitioning. One recent large study comparing gender dysphoric

 children who had socially transitioned to gender dysphoric children who had not, and

 utilizing ratings from trained mental health professionals rather than parental self-

 report, found no benefits. 24
      70. The Cass Review was a lengthy, comprehensive review of evidence regarding

 the provision of gender identity services to young people, commissioned by the Eng-

 lish National Health Service. The final report was released in the spring of 2024. 25 In

 regard to social transition the Cass Review concluded that there is “no clear evidence

 that social transition in childhood has any positive or negative mental health out-

 comes, and relatively weak evidence for any effect in adolescence.” 26




 22 Kristina R. Olson et al., Gender Identity 5 Years After Social Transition, 150 Pe-
 diatrics, 3-4 at Tables 2, 3 (Aug. 2022), https://perma.cc/2GMD-MYAL.
 23   Cohen-Kettenis et al., supra note 4, at 1895.
 24 James S. Morandini et al., Is Social Gender Transition Associated with Mental
 Health Status in Children and Adolescents with Gender Dysphoria?, 52 Archives of
 Sexual Behav. 1045, 1052-53 (2023), https://perma.cc/E92N-KT5C.
 25 The Cass Review, Independent Review of Gender Identity Services for Children
 and Young People (Apr. 2024), https://perma.cc/J5GN-ELUY (“Cass Review”).
 26   Id. at 31.


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      71. Following social transition, the next intervention in the gender affirming care

 model is taking puberty blockers—gonadotropin-releasing hormone analogues, such

 as leuprolide and histrelin, which suppress pubertal development.

      72. Although puberty blockers have been promoted as providing a child with time

 to consider, research indicates that the vast majority of children started on puberty

 blockers continue on to taking cross sex hormones. 27 Similar to the questions regard-

 ing social transition, this may reflect an extraordinarily effective selection criteria for

 starting on the treatment, but may also be an indication that beginning puberty

 blockers solidifies the child’s transgender identification and places them on a steady

 path toward full transition when, without intervention, the child’s transgender iden-

 tification would likely have been transient.

      73. Although puberty blockers are frequently promoted as being “fully reversi-

 ble,” there is no good evidence to support this supposition. It is simply not known to

 what extent the onset of puberty reflects a window of developmental opportunity

 which then closes over time.

      74. The most well studied medical side effect of puberty blockers is that of de-

 creased bone density, with the potential for the development of the disease of osteo-

 porosis.

      75. The impact of blocking puberty on a child’s emotional and cognitive develop-

 ment is not known, although there have been reports of a drop in IQ scores in small

 samples of children. 28



 27 Tessa Brik et al., Trajectories of Adolescents Treated with Gonadotropin-Releasing
 Hormone Analogues for Gender Dysphoria, 49 Archives of Sexual Behav. 2611, 2615-
 2617 (2020), https://perma.cc/VJ9B-F97M.
 28  Sallie Baxendale, The impact of suppressing puberty on neuropsychological func-
 tion: A review, 113 Acta Paediatrica 1156, 1164-1165 (2024), https://perma.cc/5467-
 GJVG.


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      76. Blocking puberty delays the development of sexual functioning in a teenager;

 the physical and psychological impact of such a delay has not been well studied. 29

      77. The social and emotional impact of delaying puberty, leaving a child devel-

 opmentally behind same-age peers, remains unknown.

      78. Overall, the profound and pervasive changes that a child undergoes through

 the process of puberty are presumed to be foundational for healthy adolescent devel-

 opment, and there is a paucity of research as to the impact of blocking puberty in this

 population.

      79. Following puberty blockers, the next step in a gender transition consists of

 masculinizing and feminizing hormones.

      80. Frequently, masculinizing hormones (testosterone) are used in adolescent

 transgender-identified females, and feminizing hormones (estrogen plus androgen in-

 hibitor) in adolescent transgender-identified males, in order to induce physical

 changes consistent with the person’s gender identification.

      81. In regard to hormonal treatment, the Cass Review noted: “The University of

 York also carried out a systematic review of outcomes of masculinising/feminising

 hormones. Overall, the authors concluded that 'There is a lack of high-quality re-

 search assessing the outcomes of hormone interventions in adolescents with gender

 dysphoria/incongruence, and few studies that undertake long-term follow-up. No con-

 clusions can be drawn about the effect on gender dysphoria, body satisfaction, psy-

 chosocial health, cognitive development, or fertility. Uncertainty remains about the

 outcomes for height/growth, cardiometabolic and bone health.’” 30 As a result, the




 29 Michael Biggs, The Dutch Protocol for Juvenile Transsexuals: Origins and Evi-
 dence, 49 J. Sex & Marital Therapy 348, 360-362 (2023), https://perma.cc/C42Z-FE3P;
 Cass Review, supra note 25, at 176-79.
 30   Cass Review, supra note 25, at 33.


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 Report recommended “an extremely cautious clinical approach and a strong clinical

 rationale for providing hormones before the age of 18.” 31

      82. Other systematic reviews of the research literature regarding the use of hor-

 mone treatment for gender dysphoric youths have reached similar conclusions re-

 garding the paucity of reliable data. 32

      83. After cross-sex hormones, the next stage for a gender transition is surgery.

      84. Aside from double mastectomies, surgery is not frequently performed on

 transgender-identified minors in the United States. Nevertheless, a recent article

 noted an almost 400% rise in “gender-affirming” chest surgeries in minors between

 2016 and 2019, with an age range of 12 to 17 and a median age of 16. 33 Additional
 research indicated that between 2016 and 2020 in the United States, among youths

 aged 12 to 18 (including, therefore, many 18-year-olds), there were 3,215 breast sur-

 geries and 405 genital surgeries. 34 This research did not include data from 2021 to

 the present.

      85. Transgender-identified adult females may proceed to the surgical creation of

 a “neo-penis” composed of skin flaps taken from elsewhere in the body.

      86. Transgender-identified adult males may have surgery to enhance breasts.

 They may also proceed to have their male genitalia surgically removed, followed by

 31   Id. at 34-35.
 32 Jo Taylor et al., Masculinising and feminizing hormone interventions for adoles-
 cents experiencing gender dysphoria or incongruence: a systematic review, Archives of
 Disease in Childhood at 7 (Apr. 9, 2024), https://perma.cc/SCB7-HWAP; Jonas F.
 Ludvigsson, A systematic review of hormone treatment for children with gender dys-
 phoria and recommendations for research, 112 Acta Paediatrica 2279, 2290 (2023),
 https://perma.cc/EJF9-X9QL.
 33 Rishub Karan Das et al., Gender-Affirming Chest Reconstruction Among
 Transgender and Gender-Diverse Adolescents in the US from 2016 to 2019, 177 JAMA
 Pediatrics 89, 89 (2023), https://perma.cc/W4SA-73UV.
 34Jason D. Wright et al., National Estimates of Gender-Affirming Surgery in the US,
 JAMA Network Open, at 4, Table 1 (Aug. 23, 2023), https://perma.cc/P9AW-YMTB.


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 the creation of a “neo-vagina.” This neo-vagina needs to be manually dilated on a

 regular basis to prevent scarring and closure.

    87. Some individuals choose to have both a penis and a vagina (phallus-preserv-

 ing vaginoplasty or vagina-preserving phalloplasty), while some seek to have the com-

 plete removal of all external genitalia of either sex (genital nullification).

    88. Some individuals may also have facial feminization surgeries, facial mascu-

 linization surgeries, or other procedures. Some surgeons advertise a curated personal

 surgical plan to meet the individual client’s goals and expectations.

    D. Criticism of the Gender Affirming Approach

 Evidentiary Critiques

    89. The gender affirming care model for transgender-identified youths is based

 on the assumptions that children and teenagers have a clear and consistent under-

 standing of their subjective gender, and that a child’s wish for social, medical, and

 surgical interventions should be accorded primacy. But those assumptions, and the

 implications for the GAC model, are being increasingly questioned and criticized.

    90. The American Academy of Pediatrics position statement on transgender

 youth has been criticized by many, including Dr. James Cantor, a prominent clinical

 psychologist and sexologist, who stated, “AAP is advocating for something far in ex-

 cess of mainstream practice and medical consensus. In the presence of compelling

 evidence, that is just what is called for. The problems with [the AAP statement], how-

 ever, do not constitute merely a misquote, a misinterpretation of an ambiguous state-

 ment, or a missing reference or two. Rather, AAP’s statement is a systemic exclusion

 and misrepresentation of entire literatures. Not only did AAP fail to provide




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 compelling evidence, it failed to provide the evidence at all. Indeed, AAP’s recommen-

 dations are despite the existing evidence.” 35

      91. The American Academy of Pediatrics has not responded to critiques such as

 Cantor’s or the Cass Review but has recently initiated a systematic review of the

 relevant evidence, the results of which are pending.

      92. These critiques are important because the gender affirming care model is

 based on the assumption that helping a child transition will lead to better health

 outcomes. Often, gender-affirming medical professionals claim that gender affirming

 care prevents suicide among transgender-identifying individuals. But studies about

 suicidality are either inconclusive or suffer from significant methodological flaws. For

 example, a study published in the Journal of the Endocrine Society, which supports

 gender transitions for youths, found that it “could not draw any conclusions about

 death by suicide.” 36 Similarly, the Cass Review noted: “It has been suggested that
 hormone treatment reduces the elevated risk of death by suicide in this population,

 but the evidence found did not support this conclusion.” 37

      93. In the 1990s, clinicians in the Netherlands and other sites began to publish

 an influential approach to transgender children that became known as the Dutch

 Protocol. 38 In this approach, children (primarily boys) who had been experiencing

 transgender identification for many years, who suffered an increase in gender dys-

 phoria with the onset of puberty, and who had no other mental health conditions were


 35 James M. Cantor, Transgender and Gender Diverse Children and Adolescents:
 Fact-Checking of AAP Policy, 46 J. Sex & Marital Therapy 307, 312 (2019),
 https://perma.cc/LN72-LEJ7 (emphasis in original).
 36 Kellan E. Baker et al., Hormone Therapy, Mental Health, and Quality of Life
 Among Transgender People: A Systematic Review, 5 J. Endocrine Soc’y, at 1 (Apr.
 2021), https://perma.cc/YHU2-GW72.
 37   Cass Review, supra note 25, at 33.
 38   Biggs, The Dutch Protocol, supra note 29, at 348.


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 given puberty blockers around the age of 12 and then typically provided with cross-

 sex hormones by around the age of 16 years. 39

      94. There is some limited research supporting the efficacy of the Dutch Protocol

 in the small number of youths for whom it was employed, with generally favorable

 degrees of satisfaction and adjustment. 40 Some studies, however, have found that the

 Dutch Protocol had a high risk of bias given its limited sample, its conflation of med-

 ical interventions with psychotherapy, and inconsistent measurements across time. 41

      95. In addition, the field of transgender adolescent medicine and the population

 of transgender-identifying youths has changed dramatically since the advent of the

 Dutch Protocol.

      96. The number of children and adolescents identifying as transgender and pre-

 senting for care to transgender clinics has increased by orders of magnitude over the

 past 25 years. A recent survey noted that the number of youths receiving puberty

 blockers or hormone treatment in the US had more than doubled in just the four years

 between 2017 and 2021, and the number of child-serving transgender clinics in this

 country has gone from zero prior to 2007 to more than 100 at present. 42 Similarly, a
 recent German study of nationwide insurance data from 2013 to 2022 found an eight-

 fold increase in the incidence of gender identity disorders over a 10-year time period. 43

 A recent analysis of US adults identifying as transgender between 2014 and 2022


 39   Id. at 351.
 40   Id. at 354-55.
 41 E. Abbruzzese et al., The Myth of “Reliable Research” in Pediatric Gender Medi-
 cine: A critical evaluation of the Dutch Studies —and research that has followed, 49
 J. Sex & Marital Therapy 673, 673 (2023), https://perma.cc/CKV7-TTLC (noting
 “methodological biases”); Cass Review, supra note 25, at 68 (noting limits).
 42 Chad Terhune, et al., As more transgender children seek medical care, families
 confront many unknowns, Reuters (Oct. 6, 2022), https://perma.cc/D6KY-W9XA.
 43   Bachmann, supra note 2, at 370.


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 found a fivefold increase in persons aged 18-24, a fourfold increase in persons aged

 25-34, and no changes in adults older than 34. 44 The increases were entirely driven

 by females identifying as trans or non-binary. 45




Figure 1: “Percent of US adults self-identify-   Figure 2: “Percent of US adults self-
  ing as transgender, by age group, 2014–      identifying as transgender, by birth year
                  2022.” 46                         (2014–2022 data combined).” 47


      97. The reasons for the explosive growth in transgender-identified children and

 adolescents are not understood. Some assert that transgender children have existed

 throughout history and were simply unable to reveal their condition due to social

 disapprobation. Others note that in over a century of the scientific endeavor of stud-

 ying child development there had been no reports of children expressing a

 transgender identification until the very recent time. Some have raised concerns

 about the possible role of social media, peer influence, and social contagion. Dr. Lisa



 44 Jean M. Twenge et al., Increases in Self-identifying as Transgender Among US
 Adults, 2014–2022, Sexual Rsch. & Soc. Pol’y, at 3 (July 13, 2024),
 https://perma.cc/YX3T-9HPJ.
 45   Id. at 3-5.
 46   Id. at 4.
 47   Ibid.


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 Littman, for example, described cohorts of adolescent females concurrently adopting

 a transgender identity in what she deemed “rapid-onset gender dysphoria.” 48

      98. In addition to the increase in numbers, there has been a dramatic deteriora-

 tion in the mental health status of children and adolescents presenting as

 transgender, such that the majority of such youths now meet the criteria for a psy-

 chiatric diagnosis. 49 A large survey of transgender-identified adults report a doubling

 of rates of depression and frequent mental distress in just the eight years from 2014

 to 2022. 50

      99. A large number of transgender children have been diagnosed with autism

 spectrum disorder or present with autistic traits. Remarkably, 35% of youths referred

 to the National Gender Identity Development Service in England were noted to man-

 ifest moderate to severe autistic traits, 51 and a recent survey concluded that autism
 was found amongst gender incongruent and dysphoric individuals at eleven times the

 population base rate. 52 The reasons for the substantial overlap between autism and

 gender incongruence are not understood.




 48   Littman, supra note 11, at 1.
 49   Wittlin et al., supra note 2, at 210-12.
 50 Michael Liu et al., Health Status and Mental Health of Transgender and Gender-
 Diverse Adults, JAMA Internal Med., E2 (2024), https://perma.cc/GG9G-DA3D.
 51 Gary Butler et al., Assessment of support of children and adolescents with gender
 dysphoria, 103 BMJ 631, 632 (2018), https://perma.cc/5CS9-MKLS.
 52 Aimilia Kallistsounaki & David M. Williams, Autism Spectrum Disorder and Gen-
 der Dysphoria/Incongruence. A systematic Literature Review and Meta-Analysis, 53
 J. Autism & Developmental Disorders 3103, 3111 (2023), https://perma.cc/5FMH-
 VWNC.


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      100. The sex ratios of children presenting as transgender have also shifted in re-

 cent years; historically the majority of presenting youths were male, whereas now the

 clear majority are females. 53

      101. For all of these reasons, it is not clear that the results from the Dutch Proto-

 col, limited though the data may be, are applicable to what appears to be a very dif-

 ferent population of youths now presenting for transgender care.

      102. Surveying the current evidence, the Cass Review concluded: “This is an area

 of remarkably weak evidence, and yet results of studies are exaggerated or misrepre-

 sented by people on all sides of the debate to support their viewpoint. The reality is

 that we have no good evidence on the long-term outcomes of interventions to manage

 gender-related distress.” 54
      103. At the same time, there are substantiated risks and harms in medical tran-

 sitions. As the Endocrine Society acknowledges, the “primary risks of pubertal sup-

 pression” to treat gender dysphoria are “adverse effects on bone mineralization,”

 “compromised fertility if the person subsequently is treated with sex hormones,” and

 “unknown effects on brain development.” 55 For biological girls receiving testosterone,

 these is an increased risk of erythrocytosis, myocardial infarction, liver dysfunction,

 coronary artery disease, cerebrovascular disease, hypertension, and breast and


 53  See Madison Aitken et al., Evidence for an Altered Sex Ratio in Clinic-Referred
 Adolescents with Gender Dysphoria, 12 J. Sexual Med. 756, 760 (2015),
 https://perma.cc/52YF-HFJ9; see also Nastasja M. de Graaf et al., Evidence for a
 Change in the Sex Ratio of Children Referred for Gender Dysphoria: Date From the
 Gender Identity Development Service in London (2000–2017), 15 J. Sexual Med. 1381,
 1382 (2018), https://perma.cc/9RGW-REJG (noting “a significant reduction in the per-
 centage of referred birth-assigned boys” referred to specialized gender identity clin-
 ics).
 54   Cass Review, supra note 25, at 13.
 55 Wylie C. Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-In-
 congruent Persons: An Endocrine Society* Clinical Practice Guideline, 102 J. Clinical
 Endocrinology & Metabolism 3869, 3882 (2017), https://perma.cc/2JPW-V26Z.


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 uterine cancer. 56 For biological boys receiving estrogen, this can cause sexual dys-

 function and increase the risk of macroprolactinoma, coronary artery disease, cere-

 brovascular disease, cholelithiasis, and hypertriglyceridemia. 57

      104. Unfortunately, children and teenagers are often not mature enough to un-

 derstand the risks involved in these interventions, especially as they relate to sexual

 functioning. But under the gender-affirming model of care, their assertions of gender

 identity are deemed conclusive, which means that pre-pubertal children and teenag-

 ers are effectively waiving their future right to sexual function and reproduction with,

 at best, limited comprehension and consent.

      105. This is an important issue because, as explained above, in up to 80-95% of

 cases, pediatric gender dysphoria will naturally resolve (desist) by adulthood without

 interventions or transitioning. 58
      106. This has also led to the phenomenon of “detransitioners,” or those who no

 longer identify as transgender and have stopped their medical interventions and

 sought to reverse their gender transitions.

      107. In light of these uncertain benefits and concrete harms, several European

 countries that had previously utilized the gender affirming care model with

 transgender-identified youths have recently conducted systematic evidence reviews

 and, as a result, have chosen to adopt a more traditional and cautious approach.


 56  Id. at 3886, 3891; Michael K. Laidlaw et al., Letter to the Editor From Laidlaw et
 al: “Erythrocytosis in a Large Cohort of Transgender Men Using Testosterone: A Long-
 term Follow-up Study on Prevalence, Determinants, and Exposure Years”, 106 J. Clin-
 ical    Endocrinology     &    Metabolism     e5275,     e5275     (June   9,     2021),
 https://perma.cc/6GDZ-J77V (“Studies of transgender males taking testosterone have
 shown up to a nearly 5-fold increased risk of myocardial infarction relative to females
 not receiving testosterone.”).
 57   Hembree et al., supra note 55, at 3886.
 58 Cohen-Kettenis et al., supra note 4, at 1893; Kaltiala-Heino et al., supra note 4,
 at 32-33.


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      108. The United Kingdom previously ran one of the largest pediatric gender clinics

 in the world at the Tavistock and Portman NHS Foundation Trust. The Cass Review

 studied how the British government was running the Tavistock Clinic and whether

 there was scientific evidence supporting medical transitions for minors. 59

      109. The Cass Review questioned the quality of currently available guidelines and

 singled out the influential 2022 WPATH guidelines for lacking “rigour of develop-

 ment.” 60

      110. The Cass Review concluded: “The systematic review of psychosocial interven-

 tions found that the low quality of the studies, the poor reporting of the intervention

 details, and the wide variation in the types of interventions investigated, meant it

 was not possible to determine how effective different interventions were for children

 and young people experiencing gender distress.” 61
      111. It recommended that “Standard evidence based psychological and psycho-

 pharmacological treatment approaches should be used to support the management of

 the associated distress and cooccurring conditions.” 62

      112. In regard to puberty blockers, the review noted, “The Review’s letter to NHS

 England (July 2023) advised that because puberty blockers only have clearly defined

 benefits in quite narrow circumstances, and because of the potential risks to neu-

 rocognitive development, psychosexual development and longer-term bone health,

 they should only be offered under a research protocol.” 63




 59   Cass Review, supra note 25, at 78-80.
 60   Id. at 128-132.
 61   Id. at 30.
 62   Id. at 31.
 63   Id. at 32.


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      113. The English National Health Services is making major changes in their pro-

 vision of services for transgender-identified youths as a result of this report. 64

      114. The United Kingdom has since closed the Tavistock Clinic and has issued an

 emergency order banning the private use of puberty-suppressing hormones for new

 patients under 18. 65

      115. Finland, Sweden, Denmark, and Norway have each conducted systematic re-

 views of the evidence regarding the treatment of transgender-identified youths and

 have found the research insufficient to support medical or surgical interventions in

 this population, except under very limited conditions.

      116. Finland engaged in a systematic evidence review and found the evidence sup-

 porting pediatric gender transitions was weak and inconclusive. 66 It recommended
 that “[t]he first-line intervention for gender variance during childhood and adolescent

 years is psychosocial support and, as necessary, gender-explorative therapy and

 treatment for comorbid psychiatric disorders.” 67

      117. Sweden published national guidelines finding that for more children, the

 risks of gender affirming care likely outweighed any benefits. 68


 64 Azeen Ghorayshi, Youth Gender Medications Limited in England, Part of Big Shift
 in Europe, N.Y. Times (Apr. 9, 2024), https://perma.cc/VSF2-BSWT.
 65 New restrictions on puberty blockers, United Kingdom Department of Health and
 Social Care (May 29, 2024), https://perma.cc/8LLN-DY29.
 66 Suositus: Transsukupuolisuudesta johtuvan dysforian lääketieteelliset hoi-
 tomenetelmät [Recommendation: Medical Treatment Methods for Dysphoria Related
 to Gender Variance in Minors], Palveluvalikoimaneuvoston [The Council for Choices
 in Health Care in Finland (COHERE Finland)], at 6-8 (June 11, 2020) (Fin.),
 https://perma.cc/CV8A-FLRV, unofficial English translation, https://perma.cc/AA6W-
 P5HJ.
 67   Id. at 5.
 68 Gunilla Sonnebring, Systematic review on outcomes of hormonal treatment in
 youths with gender dysphoria, Karolinska Institutet (Apr. 20, 2023) (Swed.),
 https://perma.cc/W444-9VZY.


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      118. In Denmark, guidelines limit hormone treatments to adolescents who have

 experienced persistent dysphoria that is not of “short duration.” 69 Unstable psycho-

 social conditions can also bar an adolescent from receiving medical transition. 70 This

 has led to a drastic decrease in the provision of hormone treatments.

      119. A Norwegian government investigation found that there is insufficient evi-

 dence for the use of puberty blockers and cross-sex hormones in young people. 71

      120. Countries outside of Europe have also backed away from the gender affirm-

 ing care model. In 2023, the Royal Australian and New Zealand College of Psychia-

 trists withdrew support for the gender affirming standards of care in Australia, and

 instead issued a statement highlighting the limited evidence base regarding the ben-

 efits and potential harms of psychosocial and medical intervention for transgender

 youth. 72
      121. Concerns about the limited role of psychotherapy in the current iteration of

 gender affirming care were raised by two leaders in the field and former WPATH

 members in a widely read 2021 article in the Washington Post entitled “The Mental

 Health Establishment is Failing Trans Kids.” Drs. Laura Edwards-Leeper and Erica

 Anderson wrote, “Providers and their behavior haven’t been closely studied, but we

 find evidence every single day, from our peers across the country and concerned par-

 ents who reach out, that the field has moved from a more nuanced, individualized


 69 Mette Vinther Hansen et al., Sundhedsfaglige tilbud til børn og unge med Køn-
 subehag [Health services for children and young people with gender dysphoria], 185
 Ugeskr Læger [Wkly. Mag. for Drs.], (2023) (Den.), https://perma.cc/PWL2-FR38,
 translated via Google Translate, https://perma.cc/CG8T-K3PK.
 70   Id. at 3.
 71 Jennifer Block, Norway’s guidance on paediatric gender treatment is unsafe, says
 review, 380 BMJ 697 (2023), https://perma.cc/9XJF-MRY4.
 72 Position Statement: The role of psychiatrists in working with Trans and Gender
 Diverse people, The Royal Australian and New Zealand College of Psychiatrists (Dec.
 2023), https://perma.cc/7QES-JUC8.


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 and developmentally appropriate assessment process to one where every problem

 looks like a medical one that can be solved quickly with medication or, ultimately,

 surgery. As a result, we may be harming some of the young people we strive to sup-

 port – people who may not be prepared for the gender transitions they are being

 rushed into.” 73

      122. Dr. Edwards Leeper was the past Chair of the Child and Adolescent Commit-

 tee for WPATH and was involved in the WPATH Standards of Care (SOC) 8 revision.

 Dr. Anderson is a former board member of WPATH. 74

      123. Internal WPATH documents and correspondence, recently unsealed as part

 of a federal court proceeding in Alabama, have cast serious doubt on the process used

 to develop WPATH’s standards of care. These documents reveal that WPATH “lead-

 ers interfered with the production of systematic reviews that it had commissioned

 from the Johns Hopkins University Evidence-Based Practice Centre (EPC) in 2018.” 75
 They also show that “the SOC-8 development process was extensively influenced by

 factors other than medical science, including political pressure, litigation and legis-

 lative advocacy strategy, and financial self-interest of WPATH members.” 76

 Historical Context

      124. The history of the modern era of psychiatry has been characterized, in part,

 by real and sustained advances in treatment, particularly in the domains of patient

 rights, effective psychotherapies, and psychiatric medications.


 73 Laura Edwards-Leeper & Erica Anderson, The mental health establishment is fail-
 ing trans kids, The Washington Post (Nov. 24, 2021), https://perma.cc/82UE-LXPQ.
 74   Id.
 75 Research into trans medicine has been manipulated, The Economist (June 27,
 2024), https://perma.cc/AD6E-HMQQ.
 76 Ex. 24 to United States’ Br. in Supp. of Mot. to Exclude at vi, Boe v. Marshall,
 No. 2:22-cv-184 (M.D. Ala. June 24, 2024), ECF No. 591-24, https://perma.cc/W6RJ-
 LDE2 (Appendix A. to Supplemental Expert Report of James Cantor, Ph.D.).


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    125. At the same time, there have been numerous instances of psychiatric fads

 and frenzies, both remote and recent, in which a dramatic widespread enthusiasm

 for a particular intervention or concept, often endorsed by leaders in the field, proves

 over time to be illusory, over-promoted, or dangerous. These have included “surgical

 bacteriology” (removing organs to cure mental illness), insulin shock, compulsory

 sterilization, lobotomy and other psychosurgeries, early electroconvulsive therapy,

 the concept of the “schizophrenogenic mother,” the misuse of aversive conditioning,

 recovered memories and satanic ritual abuse, the over-diagnosis of multiple person-

 ality disorder and juvenile bipolar disorder, and arguably the overuse of certain psy-

 chiatric medications.

    126. The field of psychiatry, it would seem, may be less mature in some respects

 than other medical specialties—lacking biological markers for illness, lacking effec-

 tive animal models, and lacking a genuine understanding of the basis of disease—

 and so may be more susceptible to such paroxysms of enthusiasm.

    127. An appreciation of the sometimes-checkered history of psychiatry does not

 necessarily lead to therapeutic nihilism but rather to two related conclusions: First,

 that novel interventions need to be carefully established on a foundation of research

 and experience, and second, that the ancient dictum “First do no harm” remains as

 true for clinicians today as it did thousands of years ago.

    128. The current approach of gender affirming care for transgender-identified in-

 dividuals represents a recent, dramatic departure from how the field of psychiatry

 has historically treated individuals who present with distress due to other disordered

 perceptions of or relationships with their bodies—such as body dysmorphic disorder,

 body integrity identity disorder, anorexia nervosa, muscle dysmorphia, or eunuch
 identification.




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    129. In those other cases, psychiatry has typically attempted to help the individ-

 ual come to terms with their body through psychological means rather than attempt-

 ing to alter the body to bring it into terms with their psyche.

    130. Whether and in what ways gender dysphoria may be related to these other

 psychiatric diagnostic conditions remains unclear, and there are important distinc-

 tions that can be made between them. What is clear, however is that gender affirming

 care represents a departure from the long tradition of psychiatry seeking psycholog-

 ical relief rather than medical and surgical modification for distress regarding one’s

 healthy body.

 III. Conversion Therapy

 Conversion Therapy Historically

    131. “Conversion therapy” is not a term of art in the mental health field and has

 no clearly defined meaning.

    132. It does, however, have specific, historical associations. Conversion therapy—

 also known as reparative therapy or “sexual orientation change efforts” (SOCE)—was

 a method of therapy that sometimes involved the use of coercion, shaming, or aversive

 conditioning in efforts to modify same sex attraction in certain individuals. Conver-

 sion therapy was openly used at times during the last half of the 20th century.

    133. Since that time, conversion therapy has been broadly repudiated, even by its

 former practitioners, such that there is at present a near-universal consensus

 amongst mental health practitioners that such methods are both futile and often psy-

 chologically harmful.




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      134. The authoritative 2009 APA (American Psychological Association) Task

 Force on Appropriate Therapeutic Responses to Sexual Orientation reached the fol-

 lowing conclusions: 77

      a. The task force noted, “We have serious concerns that the coercive or involun-
         tary treatment of children or adolescents has the potential to be harmful and
         may potentially violate current clinical and practice guidelines, standards for
         ethical practice, and human rights.

      b. The task force concluded that treatments based on the assumption that ho-
         mosexuality is a mental disorder should be avoided due to the possible harm
         to patients through the reinforcement of stereotypes and increase in internal-
         ized stigma.

      c. The task force recommended “affirmative therapeutic intervention” [in the
         more customary meaning of the word “affirmative”] that included acceptance
         and support, reduction of stigma and isolation, identity exploration and de-
         velopment, and family reconciliation techniques.
      135. At the same time, the Guidelines also noted that participants had different

 views on SOCE. “Recent research indicates that former participants in SOCE report

 diverse evaluations of their experiences. Some individuals perceive that they have

 benefited from SOCE, while other individuals perceive that they have been harmed

 by SOCE.” 78

      136. Per the Guidelines, “[b]oth the early and recent research provide little clarity

 on the associations between claims to modify sexual orientation from same-sex to
 other-sex and subsequent improvements or harm to mental health.” 79




 77 Report of the American Psychological Association Task Force on Appropriate Ther-
 apeutic Responses to Sexual Orientation at 81-88, American Psychological Association
 (Aug. 2009), https://perma.cc/6FWH-XJ5D.
 78   Id. at 85.
 79   Ibid.


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 Sexual Orientation Identity

      137. The 2009 APA guidelines also drew a distinction between sexual orientation

 and sexual orientation identity. 80 In contrast to what used to be called conversion or

 reparative therapy, some therapists at present work with clients in an effort to modify

 their behaviors rather than their sexual orientation, emphasizing self-determination,

 acceptance, and support.

      138. There is no clear evidence that such therapy (in contrast to the historical

 reparative therapy) is harmful, and it appears to fall within the guidelines suggested

 by the APA task force.

      139. Indeed, the task force highlighted the distinction between sexual orientation

 (which is unlikely to change through therapy) and sexual orientation identity (includ-

 ing self-labeling, values, and behavior), which some individuals were able to modify. 81
      140. The APA Task force notes: “Self-determination is the process by which a per-

 son controls or determines the course of her or his own life … [Licensed mental health

 providers] maximize self-determination by (a) providing effective psychotherapy that

 explores the client’s assumptions and goals, without preconditions on the outcome;

 (b) providing resources to manage and reduce distress; and (c) permitting the client

 to decide the ultimate goal of how to self-identify and live out her or his sexual orien-

 tation.” 82

      141. It also explains that counseling to modify sexual orientation identity could be

 helpful: “Other individuals reported that SOCE was helpful—for example, it helped

 them live in a manner consistent with their faith. Some individuals described finding

 a sense of community through religious SOCE and valued having others with whom



 80   Id. at 84.
 81   Ibid.
 82   Id. at 6.


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 they could identify. These effects are similar to those provided by mutual support

 groups for a range of problems, and the positive benefits reported by participants in

 SOCE, such as reduction of isolation, alterations in how problems are viewed, and

 stress reduction, are consistent with the findings of the general mutual support group

 literature. The research literature indicates that the benefits of SOCE mutual sup-

 port groups are not unique and can be provided within an affirmative and multicul-

 turally competent framework, which can mitigate the harmful aspects of SOCE by

 addressing sexual stigma while understanding the importance of religion and social

 needs.” 83

 Conversion Therapy Prevalence

      142. There is no evidence that coercive, shaming, or aversive conditioning is com-

 monly used by counselors or licensed mental health practitioners at the present time

 in efforts to modify either same-sex attraction or gender identification.

      143. Survey results from a non-representative population from 2015 indicated

 that in the preceding 5 years only 5% of respondents endorsed the exceptionally broad

 question: “Did any professional (such as a psychologist, counselor, religious advisor)

 try to make you identify only with your sex assigned at birth (in other words, try to

 stop you being trans)?” 84 The survey in question did not inquire specifically about

 coercive, shaming, or aversive approaches. The 2015 US Transgender Survey re-

 ported that 13% of their survey population had had a professional person try to stop




 83   Id. at 3.
 84 Jack L. Turban et al., Psychological Attempts to Change a Person’s Gender Identity
 From Transgender to Cisgender: Estimated Prevalence Across US States, 2015, 109
 Am. J. Pub. Health 1452, 1453 (2019), https://perma.cc/ZR7C-LWEM; Travis Salway
 et al., A systematic review of the prevalence of lifetime experience with ‘conversion’
 practices among sexual and gender minority populations, PLOS ONE, 9 (Oct. 4, 2023),
 https://perma.cc/8C42-3DLH.


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 them from being transgender; 4% had seen a religious professional, and 9% had a

 non-religious professional. 85

      144. The Trevor Project, a LGBTQ+ advocacy group, recently conducted a compre-

 hensive survey of online information in order to identify what they referred to as

 Conversion Therapists. 86 They reported “more than 600 practitioners who hold active

 professional licenses” who engage in conversion therapy, 87 or approximately 0.08% of

 the total such professionals in the United States. 88 Their inclusion criteria included

 therapists who described themselves online simply as working with “sexuality issues”

 and “gender identity issues.” 89 There was no indication that any of these therapists
 utilized coercion, shaming, or aversive techniques in their practices.

      145. Very little research has been conducted on the potential impact of Gender

 Identity Change Efforts on transgender individuals. One cross-sectional study found

 an association between GICE and psychological distress. 90 However, that study has

 been criticized on several grounds, including its reliance on retrospective reporting

 and its inability to discern the direction of causation. 91

 85The Report of the 2015 U.S. Transgender Survey, National Center for Transgender
 Equality at 109 (Dec. 2017), https://perma.cc/L3Y4-GDMK.
 86  It’s Still Happening: A Report on Practitioners of So-Called Conversion “Therapy”
 in the U.S. at 10-11, The Trevor Project (2023), https://perma.cc/UVR9-9FS8.
 87 Id. at 14 (including licensed professional counselors, marriage and family thera-
 pists, social workers, and psychologists).
 88 Traci Pedersen, How Many Mental Health Professionals Are There in the U.S.?,
 PsychCentral (May 1, 2023), https://perma.cc/CB9F-JUZQ (estimating 351,000 li-
 censed counselors, 65,300 marriage and family therapists, 113,810 social workers in
 mental health, 181,600 psychologists, and 25,530 psychiatrists in the U.S.); 620 ÷
 737,240 = 0.0008 or 0.08%.
 89   The Trevor Project, supra note 86, at 10.
 90 Jack Turban et al., Association Between Recalled Exposure to Gender Identity Con-
 version Efforts and Psychological Distress and Suicide Attempts Among Transgender
 Adults, 77 JAMA Psychiatry 68, 68 (2020), https://perma.cc/4HYU-ZHM8.
 91   D’Angelo et al., One Size Does Not Fit All, supra note 12, at 8-14.


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      146.   The US 2015 Transgender Survey included quotes from several

 transgender teens who had been exposed to conversion therapy in the past. One teen-

 ager referred to physical abuse by their parents, one to being forced to take oral con-

 traceptives against their will, and one to being kicked out of the house. In addition,

 the survey noted that participants who reported that a professional had tried to stop

 them from being transgender were more likely to have run away from home, to have

 experienced homelessness, and to have engaged in sex work. These findings point to

 a very real possibility (for which there is no research data that I am aware of) that

 individuals who report a history of having had professionals try to stop them from

 being transgender are more likely to have come from families who were unsupportive

 and even rejecting.

      147.   This is consistent with research on the crucial role of family acceptance and

 support in maintaining the psychological well-being of transgender-identified

 youth. 92 The Family Acceptance Project, for example, has demonstrated the value of

 working with parents and families of transgendered identified youth in a respectful

 and non-judgmental manner. 93 Others have noted, “Clinicians can support parents

 and caregivers in moving away from an all-or-nothing view of having to choose be-

 tween their child and their culture and faith by staying focused on parents’ underly-

 ing values, their love for their child, and their desire for their child to live a safe and

 healthy life.” 94

      148. Advocates of gender affirming care, as well as established medical organiza-

 tions that support the gender affirmative approach, have frequently attempted to

 conflate mainstream exploratory therapy with conversion therapy and the



 92   Ryan et al., supra note 13.
 93   Id. at 781.
 94   Id. at 787.


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 discredited use of coercive, shaming, or aversive techniques. 95 They fail to

 acknowledge meaningful distinctions between the two, covering both with the odious

 mantle of disapproval that conversion therapy has justifiably earned. This grouping

 of distinct practices “is highly questionable.” 96

      149. Recent official statements from major medical organizations as well as advo-

 cacy groups have often recognized only two therapeutic approaches to transgender

 identified youths: affirmative therapy and its nemesis, conversion therapy, tacitly

 relegating traditional therapy to the highly problematic status of being not meaning-

 fully different from conversion therapy.

      150. The use of the term ‘affirmative therapy’ or ‘gender affirming care’ contrib-

 utes to this confusion. If “affirmative therapy” is defined as a therapy that actively

 supports a youth’s request for medical or surgical intervention, then any therapy that

 takes a more cautious approach is, by extension, “disaffirmative” and, therefore, not

 meaningfully different from conversion therapy.

      151. Similarly, every effective psychotherapy needs to be “affirming” at its core—

 recognizing a patient’s strengths and resources, sharing a vision of growth and pos-

 sibility, and encouraging the patient’s efforts at change. The conflation of psycholog-

 ically supportive therapy with active steps to medical intervention leaves little room

 for a therapy that is deeply respectful and attuned, yet careful and curious at the

 same time.

      152. The American Psychiatric Association 2018 Position Statement on Conver-

 sion Therapy and LGBTQ Patients “encourages psychotherapies which affirm indi-

 viduals’ sexual orientations and gender identities,” encourages legislation prohibiting


 95 Robert D’Angelo, Supporting autonomy in young people with gender dysphoria:
 psychotherapy is not conversion therapy, J. Med. Ethics, 2-3 (Nov. 18, 2023),
 https://perma.cc/W9SN-HSFT.
 96   Ibid.


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 conversion therapy, and makes no mention of traditional psychotherapy. 97 As the “af-

 firm[ation] [of] gender identities” in the gender affirming care model includes facili-

 tating whichever interventions the patient requests, this statement provides no role

 for a more cautious therapeutic approach. 98

 IV. Conversion Therapy Bans

      153. Legislative bans on conversion therapy in various states in the United States,

 and the discourse surrounding those bans, have often conflated the cautious, main-

 stream, exploratory approach to transgender-identified youths with the long-discred-

 ited, coercive, shaming, and aversive conversion therapy used in the latter half of the

 20th century to try to change sexual orientation. 99 This appears to be part of an effort
 to promote gender affirming care as the only acceptable therapeutic approach to

 transgender-identified youths and to impugn any degree of therapeutic caution or

 concern as discredited “conversion therapy.”

      154. The care of transgender children and adolescents has become highly politi-

 cized and hotly debated. Dr. Cass noted in her report that, “Despite the best inten-

 tions of everyone with a stake in this complex issue, the toxicity of the debate is ex-

 ceptional. … There are few other areas of healthcare where professionals are so afraid

 to openly discuss their views, where people are vilified on social media, and where

 name-calling echoes the worst bullying behavior. This must stop.” 100

      155. The Cass Review noted that “[t]erms such as ‘affirmative’ and ‘exploratory’

 approaches have been weaponised[.]” 101 The Report also states, “The intent of


 97 Position Statement on Conversion Therapy and LGBTQ Patients at 2, American
 Psychiatric Association (Dec. 2018), https://perma.cc/Z3T7-TXMC.
 98   Ibid.
 99   D’Angelo, Supporting autonomy, supra note 95, at 2-3.
 100 Cass Review, supra note 25, at 13.

 101 Id. at 150.




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 psychological intervention is not to change the person’s perception of who they are

 but to work with them to explore their concerns and experiences and help alleviate

 their distress, regardless of whether they pursue a medical pathway or not. It is

 harmful to equate this approach to conversion therapy as it may prevent young people

 from getting the emotional support they deserve.” 102

    156. The Cass Review noted that many primary and secondary care clinicians

 were fearful of working with this population due to the surrounding social debate. 103

    157. In a qualitative survey of clinicians conducting exploratory therapy for

 transgender-identified individuals, the great majority described working in a perva-

 sively hostile environment, and about half identified anxiety regarding a complaint

 or hostile action as a primary concern. 104
    158. There have been numerous reports in the popular press over the last few

 years of clinicians who have publicly raised concerns around the gender affirming

 care model, and who then suffered professional retribution.

    159. The authors of the WPATH SOC-8 Chapter on Adolescents, leaders in the

 field of transgender health care, were subjected to a furious response from colleagues

 and activists for recommending a comprehensive biopsychosocial assessment prior to

 the initiation of medical treatment. 105

    160. In my experience, it is very difficult for parents to find therapists for their

 children who take a stance other than that of “gender affirming.” I am listed on a

 website as someone who engages in exploratory therapy with trans-identified youths,

 102 Ibid.

 103 Id. at 20, 22, 202.

 104 Peter Jenkins & Dwight Panozzo, “Ethical Care in Secret”: Qualitative Data from

 an International Survey of Exploratory Therapists Working with Gender-Questioning
 Client, 50 J. Sex & Marital Therapy 557, 565-67 (2024), https://perma.cc/HK74-4727.
 105 Emily Bazelon, The Battle Over Gender Therapy, N.Y. Times Magazine (Mar. 17,

 2023), https://perma.cc/M727-LSF7.


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 and my solo practice receives between 50 and 100 inquiries a year from parents of

 transgender children, almost all of whom express a fear that taking their child to an

 explicitly gender affirming therapist will establish and accelerate the process of med-

 ical intervention, and almost all of whom report on the extraordinary difficulty of

 finding a therapist who is willing to take an open-ended, exploratory stance.

    161. A therapist who strives to enhance family acceptance of their transgender

 identified child may elicit and explore the family’s concerns and values in a non-judg-

 mental manner. They may conclude in certain situations that moving ahead with

 medical intervention at a particular point in time risks eroding the family’s stance of

 support. That sort of therapeutic balancing act could well be seen, from the perspec-

 tive of an impatient and distrustful teenager, as a clandestine effort at conversion,

 and as a legitimate target for a professional complaint if the therapy goes awry.

    162. Similarly, teenagers often come into therapy with their own cultural and re-

 ligious beliefs, distress at the discordance between different aspects of their identity,

 and ideas as to how best to resolve their dilemmas. Open-minded therapists express

 genuine respect for the authenticity of all facets of the individual, maintaining a ‘ther-

 apeutic neutrality’ regarding optimal outcomes. In situations where a teenager ex-

 presses a wish to explore the possibility of affirming a cis-gender identification in

 accord with their values and beliefs, the therapist needs to be able to support that

 desire without fear of retribution.

    163. A careful therapist may appreciate that while there are some individuals for

 whom a transgender identification provides a satisfying and sustainable resolution,

 there are others for whom it may not be the prudent choice at that point in time.

 Given the challenges of distinguishing between such individuals (especially amidst
 the turmoil of adolescence), the irrevocable nature of the proposed interventions, the

 limited research base, and the substantial medical risks involved, such a therapist




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 may in some cases suggest psychotherapy and time as the optimal path, prior to the

 in initiation of irrevocable interventions.

    164. At such times, the careful therapist may appear indistinguishable from some-

 one whose sole intent is to prevent the youth from moving forward with interventions.

 Indeed, a therapy that coincided or contributed to a teenager shifting from a

 transgender identification to a cisgender identification could credibly be accused of

 being a form of ‘conversion,’ quite independent of the open-mindedness of the thera-

 pist as to the outcome.

    165. As a result, a therapist who wished to effectively inoculate themselves

 against accusations of practicing “conversion therapy” would need to adopt a gender

 affirming approach, treating the young person’s declarations and intentions as be-

 yond question.

    166. In a field that appears at times to be dominated by ideologues and extremists

 on each side, there is a pressing need for therapists and clinicians who are both open-

 minded and careful. Conversion therapy bans, however, threaten those clinicians who

 choose caution at times. In the current highly charged professional atmosphere, many

 reasonable therapists will decline to expose themselves to the risks of litigation and

 loss of license at the hands of a frustrated patient or a zealous advocate. Some will

 avoid working with this population altogether, while others will learn to overlook

 their clinical misgivings in order to avoid any appearance of being less than fully

 affirming. 106

    167. Conversion therapy bans have the effect of enshrining gender affirming care

 as the sole acceptable approach to transgender youths at a time when the elements

 106 Cass Review, supra note 25, at 202 (“Throughout the Review, clinicians working

 with this population have expressed concerns about the interpretation of potential
 legislation on conversion practices and its impact on the practical challenges in
 providing professional support to gender-questioning young people. This has left
 some clinical staff fearful of accepting referrals of these children and young people.”).


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 of optimal clinical treatment are far from settled and when the mental health needs

 of this population are so pressing. In doing so, such bans may, in fact, be depriving

 this vulnerable population of sorely needed psychological treatment while at the same

 time exposing them to the risks of unnecessary and irrevocable interventions.




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       hoitomenetelmät [Recommendation: Medical Treatment Methods for Dysphoria
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      Families About Gender Identity., N.Y. Times (July 8, 2024),
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              Exhibit 1
              CV of Dr. Andrew Clark
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 Andrew Clark, M.D.                                      Telephone: 801-960-2138
                                                         Fax: 617-830-7281
                                                         Email: Andrewclark@andrewclarkmd.com

 Board Certified, Adult, Child and Forensic Psychiatry          10 Concord Ave
 American Board of Psychiatry and Neurology                     Cambridge, MA 02138




                                             Curriculum Vitae
                                             October 25, 2023


    Experienced forensic psychiatrist, currently in full time private practice in
 Cambridge, MA. Board certified in Psychiatry, Child and Adolescent Psychiatry,
 and Forensic Psychiatry.


 Academic Training:

     6/1981 B.S.          Carleton College, Northfield, MN; Magna Cum Laude, Biology
     6/1982 C.T.S.        Pacific School of Religion (Graduate Theological Union), Berkeley, CA;
                          Certificate of Theological Studies
     6/1986 M. D.         University of Michigan Medical School, Ann Arbor, MI


 Post-Graduate Training:

     7/1986 - 5/1987               Resident in Family Practice, San Francisco General Hospital,
                                   San Francisco, CA
     7/1987 - 6/1990               Resident in Pediatrics, Boston City Hospital, Boston, MA
     7/1991 - 6/ 1994              Resident in Psychiatry, Massachusetts General Hospital,
                                   Boston, MA
     7/1994 - 6/1996               Resident in Child and Adolescent Psychiatry, Massachusetts
                                   General Hospital, Boston, MA
     9/2012 - 6/2013               Fellow, Infant Parent Mental Health Post-Graduate Certificate,
                                   University of Massachusetts, Boston, MA

 Board Certifications:

     10/1995              Board Certified in Psychiatry, American Board of Psychiatry and
                          Neurology, #41372
     10/1996              Board Certified in Child and Adolescent Psychiatry, American Board of
                          Psychiatry and Neurology, #4170
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    4/2016            Subspecialty certification in Forensic Psychiatry, American Board of
                      Psychiatry and Neurology, #732

    1/1990 - 11/1997         Board Certified in Pediatrics, American Board of Medical
                             Specialties, #44179 (now lapsed)



 Academic Appointments:

    7/1996 - 6/2016          Instructor in Psychiatry, Part-time, Harvard Medical School,
                             Cambridge, MA
    7/1996 - 6/2016          Clinical Associate in Psychiatry, Massachusetts General
                             Hospital, Boston, MA
    9/11/2017 – present      Assistant Professor of Psychiatry, Boston University School of
                             Medicine



 Forensic Experience:

    10/1995-4/2001 Member, Department of Mental Health Child and Adolescent Forensic
                   Consultation Team.
    7/1996-6/1998 Staff Psychiatrist, Boston Juvenile Court Clinic, Boston, MA
    9/1998-4/2003 Consulting Psychiatrist, Norfolk County Juvenile Court Clinic, Dedham,
                   MA
    7/1996-5/2005 Staff Psychiatrist, Children and the Law Program, Massachusetts
                   General Hospital,
    5/2005-9/2012 Medical Director, Children and the Law Program, Massachusetts
                   General Hospital, Boston, MA Boston, MA

                      Have been retained as an expert in psychiatry or child psychiatry in
                      over 75 civil cases, for both plaintiffs and defense.

                      Have been retained as an expert in psychiatry or child psychiatry in
                      over 75 criminal cases.

                      Have served as court appointed Guardian ad litem in over 100 cases of
                      contested custody.

                      Have been retained multiple times by defense counsel in the
                      mitigation phase of capital trials.




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 Hospital Appointments or Other Employment:

    7/1994-11/2010 Director of Psychiatric Services, South Bay House of Correction,
                          Boston, MA
    7/1996-12/2015 Private Practice of Child, Adult and Forensic Psychiatry, Cambridge,
                   MA
    5/2007-5/2009 Trainer (for incoming social workers), Department of Children and
                   Families (DCF), Family Mental Health, Boston, MA
    9/2008-8/2014 Case reviewer, Massachusetts Board of Registration in Medicine,
                   Wakefield, MA
    5/2012-4/2016 Medical Director, Children’s Charter Trauma Clinic, Waltham, MA
    9/11/2017- 5/2022     Director of Medical Student Education, Department of
                   Psychiatry, Boston University School of Medicine.
    9/11/17 -3/1/2020     Attending psychiatrist, Boston Medical Center
    6/01/2018- 3/1/2020 Chief of Outpatient Psychiatry, Boston Medical Center

 Honors:

    6/1981           Magna Cum Laude, Carleton College, Northfield, MN
    61981            Phi Beta Kappa, Carleton College, Northfield, MN
    6/1989           Outstanding Teacher Award, Department of Pediatrics, Boston City
                     Hospital, Boston, MA
    6/1990           Neighborhood Health Center Outstanding Clinician Award,
                     Department of Pediatrics, Boston City Hospital, Boston, MA
    9/1992           Charter Leadership Fellow, American Academy of Child and
                     Adolescent Psychiatry
    9/1995           Resident Fellow, American Psychoanalytic Association
    5/1996           Works in Progress Award, New England Council of Child and
                     Adolescent Psychiatry, "Fathers in Jail" (unpublished paper)



 Licensure and Certification:

    2/1990                  Massachusetts Medical License #72153
    5/2016 - 2019           California Medical License #G142926
    10/1995- 5/2002         Designated Forensic Psychiatrist, Massachusetts Department
                            of Mental Health, Boston, MA


 Teaching Experience and Responsibilities:

    2005-2015        Taught an 8-week seminar series, Introduction to Forensic Child
                     Psychiatry, to incoming child psychiatry fellows at the Massachusetts
                     General Hospital, Boston, MA
    1996-2014        Taught in the Forensic Psychology Seminar series offered through the


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                     Law and Psychiatry Service at Massachusetts General Hospital,
                     Boston, MA
    2018-2022        Director, Human Behavior in Medicine course for first year students,
                     Boston University School of Medicine
    2019-2022        Co-director, Drx Psychiatry course for second year students, Boston
                     University School of Medicine
    2017-2022        Director of the Psychiatry Clerkship, Boston University School of
                     Medicine.
    2017 – present   Co-teach a seminar on Forensic Psychology and Psychiatry to
                     psychology interns in the Center for Multicultural Training in
                     Psychology, Boston University.


 Major Mentoring Activities:

 7/1996- 6/2012      Supervision of two post-doctoral psychology fellows each year
                     through the Children and the Law Program’s fellowship in child
                     forensic psychology at Massachusetts General Hospital, Boston, MA
 7/1996- 12/2015     Supervision of two child psychiatry fellows in long-term
                     psychotherapy through the Massachusetts General Hospital/Harvard
                     Medical School training program in Child Psychiatry, Boston, MA
 9/2017 – 5/2022     Long term supervision of a psychiatry resident at Boston Medical
                     Center.



                               Other Professional Activities:

 Professional Societies: Memberships, Offices, and Committee Assignments:
    1996             Member, American Academy of Child and Adolescent Psychiatry
    2000             Member, American Academy of Psychiatry and the Law
    2000             Member, Massachusetts Medical Society
    2004             Member, Association of Family and Conciliation Courts
    2009             Member, Massachusetts Association of Guardian ad litems


                                          Conference Presentations

 Regional/Local:

    1998             "Special Problems in Rogers and Commitment Cases", Flaschner
                     Judicial Institute, Mental Health Legal Advisors Committee, Boston,
                     MA
    1999             "Girls and Violence: Trauma and Delinquency", Department of Social
                     Services Training, Northampton, MA
    2000             "Forensic Issues in Child and Adolescent Psychopharmacology",


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                    Massachusetts General Hospital Continuing Education Course, Boston,
                    MA
    2000            "Overview of Psychopharmacology", Massachusetts Trial Court,
                    Probation Training Seminar, Westborough, MA
     2001           "The Role of the Psychiatrist in Dangerousness Evaluations of
                    Juveniles", Suffolk University Juvenile Justice Conference, Boston, MA
    2002            "Forensic Issues in Pediatric and Adolescent Psychopharmacology",
                    Massachusetts General Hospital Psychopharmacology Seminar Series,
                    Boston, MA
    2002            "Child Abuse and Neglect: Dealing with the System", Bunker Hill
                    Health Center, Massachusetts General Hospital, Charleston, MA
     2002           "Child Diagnoses and the Labels We Use", Flaschner Judicial Institute,
                    Children’s Justice Act Workshop, Boston, MA
     2002           "Understanding Needs and Accessing Services for Children with
                    Mental Health Needs", Suffolk University Law School/Boston
                    University School of Law, Boston, MA
    2003            "Recent Developments in Psychopharmacology", Mental Health Legal
                    Advisers Committee Training Conference for Probate Court Judges,
                    Worcester, MA
    2005            "Custodial Issues with Impaired Parents", MCLE Annual Family Law
                    Conference, Wellesley, MA
     2006           "Effective Therapies for Behaviorally Disturbed Children", Mental
                    Health Legal Advisors Committee Conference, Boston, MA
    March 20, 2009 "Implications of Domestic Violence and other Traumatic Stressful
                    Events on Young Children", Massachusetts General Hospital Academy
                    Child and Adolescent Psychiatry CME Course, Boston, MA
    May 10, 2010    Faculty Member, Guardian ad Litem Training Program, Probate and
                    Family Court Department, Boston, MA
    June 10, 2011   "Bullying and Harassment: From the Schoolyard to the Internet",
                    Mental Health Legal Advisors Committee Seminar, Boston, MA
    September 21, 2011      "Removal: Are We There Yet?", Massachusetts Bar Association
                    Continuing Legal Education Seminar, Boston, MA

   October 1, 2010 "The Myth of Neutrality: Recognizing Bias in GAL Evaluations", Panel
                    Discussant, Massachusetts Association of Guardians ad litem,
                    Wellesley, MA
   January 27, 2012 "Managing Ethical and Legal Dilemmas in School Mental Health",
                    School Mental Health Conference, Harvard Medical School
                    Department of Continuing Education, Cambridge, MA
   November 7, 2014 "High Conflict Behavior in Family Law Cases", Panel Discussant,
 Massachusetts Association of Guardians ad litem, Wellesley, MA

    March 12, 2020 “The Psychiatrist’s Role in Capital Punishment Cases”. Grand Rounds,
                   Department of Psychiatry, Boston Medical Center, Boston, MA




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 National:
    November 29, 2012        "Psychopharmacology of Preschoolers and Toddlers", National
                             Training Institute, Zero to Three, Los Angeles, CA


                                       Bibliography:

 ORIGINAL PEER REVIEWED ARTICLES:

                      Clark, A: Is Juvenile Solitary Confinement a Form of Child Abuse? J
                      Am Acad Psych Law. 45 (350-57) 2017.

                      Clark, A: Psychiatric Diagnoses and Informed Consent. The Journal of
                      Clinical Ethics 29 (No 2) Summer 2018. 93-99.



 EDITORIAL AND CRITICAL REVIEWS:

                      Clark, A, Herman J, Schlozman, S, Beresin, E: False Accusations
                      Against Residents: A Training Program’s Perspective. Academic
                      Psychiatry 2011; 35: 215-216

                      Clark, A: In Her Wake: A Child Psychiatrist Explores the Mystery of
                      Her Mother’s Suicide. Family Court Review, 49: 4: 860-861, Oct 2011.


 TEXTBOOK CHAPTERS:

                      Clark, A., Jellinek, M. Posttraumatic stress disorder in adolescents. In
                      Comprehensive Adolescent Health Care, 2nd Edition, St. Louis: Mosby,
                      1998.

                      Clark, A, Jellinek, M: Posttraumatic Stress Disorder. In Saunders
                      Manual Of Pediatric Practice, Philadelphia, Saunders, 1998.

                      Clark, A. (2014). Parenting through the digital revolution. In F. Saleh,
                      A. Grudzinkas & A. Judge (Eds.) Adolescent sexual behavior in the
                      digital age. (pp 247-261). Oxford University Press




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